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     8                          UNITED STATES DISTRICT COURT
     9                        CENTRAL DISTRICT OF CALIFORNIA
    10   JEFF DUNHAM, as an individual and in ) CASE NO. 2:20-CV-03716
         his capacity as TRUSTEE OF THE JEFF )
    11   DUNHAM TRUST DATED MARCH ) [PROPOSED] ORDER
         24, 2010,                            ) DISMISSING JEFF DUNHAM’S
    12
                                              ) COMPLAINT
                                Plaintiff,    )
    13
                v.                            )
    14                                        )
         RAYMOND LEI, an individual;          )
    15   OOSHIRTS, INC., d/b/a TEECHIP and )
         TEECHILI; and DOES 1-50,             )
    16                                        )
                                Defendants.   )
    17
    18               This Court, having read and considered defendants ooShirts, Inc.
    19    (“ooShirts”) and Raymond Lei’s Motion to Dismiss the Complaint, which came
    20    on regularly for hearing, the Honorable Dolly M. Gee presiding, and after
    21    considering all papers in support and in opposition to said Motion and considering
    22    the oral argument of counsel, and for good cause appearing,
    23          IT IS HEREBY ORDERED THAT:
    24          A.     Failure to Plead in Accordance with Rule 8
    25         Jeff Dunham’s Complaint violates Federal Rule of Civil Procedure 8 (“Rule
    26    8”), as it fails to attribute any specific conduct to a specific defendant. In re iPhone
    27    Application Litig., No. 11-MD-02250-LHK, 2011 U.S. Dist. LEXIS 106865 (N.D.
    28    Cal. Sep. 20, 2011) (“[B]y lumping all eight of [the defendants] together,”
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              [PROPOSED] ORDER GRANTING DISMISSING JEFF DUNHAM’S
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     1    plaintiffs had “not stated sufficient facts to state a claim for relief that is plausible
     2    against one [d]efendant”). Although Mr. Dunham sues fifty-two defendants, he
     3    lumps the defendants together and makes generalized allegations against
     4    “Defendants” as a whole. Requiring a response to the Complaint would improperly
     5    saddle “Defendants” with the “exceedingly difficult, if not impossible” task of
     6    preparing a response to inappropriately broad and generalized allegations. Id. at
     7    *26-27.
     8         B.     Claims against Raymond Lei
     9         Each of the claims against Raymond Lei fail, as Mr. Dunham does not plead
    10    facts sufficient to support alter ego liability. Misik v. D’Arco, 197 Cal. App. 4th
    11    1065, 1069, 1072 (2011) (reciting alter ego elements). “Directors or officers of a
    12    corporation do not incur personal liability for torts of the corporation merely by
    13    reason of their official position.” Balsam v. Trancos, Inc., 203 Cal. App. 4th 1083,
    14    1109 (2012).
    15         C.     Claims against Mr. Lei and ooShirts, Inc.
    16         Mr. Dunham’s First Claim for direct copyright infringement fails, as he does
    17    not allege facts sufficient to show that Mr. Lei and ooShirts were the “most
    18    significant and important cause of the copy.” Fox Broad. Co., Inc. v. Dish Network
    19    L.L.C., 747 F.3d 1060, 1067 (9th Cir. 2014). Mr. Dunham contends that “third
    20    parties” “design and upload infringing and counterfeit designs” to websites. (Id.,
    21    ¶¶ 100 & 105.) As such, it is the third party users who took the crucial “initial
    22    step” of, “upload[ing]” the allegedly infringing content and “design[ing]” the
    23    purportedly infringing goods. (Id.)
    24           Mr. Dunham’s Second and Fourth Claims for direct trademark infringement
    25    fail, as he does not allege that there was “confusion as to the origin or sponsorship
    26    of the defendant’s goods.” Tiffany (NJ) Inc. v. eBay, Inc., 600 F.3d 93, 102 (2d
    27    Cir. 2010). Mr. Dunham fails to plead any supportive facts and, instead, furnishes
    28    Exhibits C and D, alleging that such depict “example[s] of the infringing conduct.”
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     1    (Compl., ¶¶ 35, 77, 57.) The Exhibits merely depict use of the mark in relation to
     2    products, which Mr. Dunham contends “incorporat[e] the Dunham brand.” (Id., ¶
     3    26.) As such, by Mr. Dunham’s allegations, the marks are purportedly used to
     4    “accurately describe” the products. Tiffany (NJ) Inc., 600 F.3d at 103.
     5          Mr. Dunham’s Sixth through Ninth Claims for secondary copyright and
     6    trademark infringement also fail. Mr. Dunham fails to plead a claim for direct
     7    infringement against any third party. Malletier, S.A. v. Akanoc Sols., Inc., 591 F.
     8    Supp. 2d 1098, 1104 (N.D. Cal. 2008) (emphasis added) (“All theories of
     9    secondary liability for copyright and trademark infringement require some
    10    underlying direct infringement by a third party.”).
    11          In addition, the secondary infringement claims fail for the following
    12    reasons: First, as to the contributory infringement claim, Mr. Dunham’s
    13    allegations that, ooShirts operates a website that “allows for the exchange of
    14    copyrighted material” and received “past” DMCA notices, are insufficient to
    15    establish “actual knowledge of [the] specific acts of infringement.” Luvdarts, Ltd.
    16    Liab. Co. v. AT&T Mobility, Ltd. Liab. Co., 710 F.3d 1068, 1072 (9th Cir. 2013)
    17    (holding vague notices insufficient); A&M Records, Inc. v. Napster, Inc., 239 F.3d
    18    1004, 1021 (9th Cir. 2001). Second, vicarious copyright infringement requires
    19    facts sufficient to show that ooShirts and Mr. Lei had the “right and ability to
    20    supervise” the third party’s infringing conduct, yet Dunham fails to plead any
    21    supporting facts. (Compl., ¶ 101; Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657,
    22    673 (9th Cir. 2017). Third, in relation to his claim for contributory trademark
    23    infringement Mr. Dunham fails to adequately plead “actual or constructive
    24    knowledge.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 943
    25    (9th Cir. 2011). Fourth, with respect to the vicarious trademark infringement
    26    claim, providing “third parties” with the ability to upload designs to a website does
    27    not evidence a manifestation of an intent to enter into a “partnership.” (Compl., ¶
    28
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     1    105; Louis Vuitton Malletier, S.A., 591 F. Supp. 2d at 1113, n.17 (providing IP
     2    addresses and servers insufficient).
     3           Mr. Dunham’s Third Claim for dilution fails to state a claim, as it offers no
     4    supportive facts or clarification as to his intended theory of dilution (i.e., blurring
     5    or tarnishment). Klein Elecs., Inc. v. Boxwave Corp., No. 10cv2197 WQH (POR),
     6    2011 U.S. Dist. LEXIS 69525 (S.D. Cal. June 27, 2011) (dismissing dilution claim
     7    where plaintiff had alleged no “more than labels and conclusions”).
     8           Mr. Dunham’s Fifth Claim for unfair competition also fails to state a claim.
     9    The claim violates Rule 8, as it is labeled a “common law” claim, yet is alleged as
    10    a statutory claim. Owen v. City of Hemet, No. ED CV 19-1388-ODW(E), 2020
    11    U.S. Dist. LEXIS 99463, at *18 (C.D. Cal. Feb. 10, 2020) (“A complaint is subject
    12    to dismissal if one cannot determine from the complaint who is being sued, on
    13    what theory and for what relief.”). Further, the claim fails as it is preempted by the
    14    Copyright Act. Fractional Villas, Inc. v. Tahoe Clubhouse, No. 08cv1396 - IEG -
    15    POR, 2009 U.S. Dist. LEXIS 4191, at *14 (S.D. Cal. Jan. 22, 2009) (dismissing
    16    claim).
    17           Mr. Dunham’s Tenth and Eleventh Claims for common law and statutory
    18    violation of publicity of rights, fail to state a claim for two reasons: First, the
    19    claims are preempted by the Copyright Act, as the “crux” of Mr. Dunham’s claims
    20    is the alleged unauthorized sale of his copyrighted works. Maloney v. T3Media,
    21    Inc., 853 F.3d 1004, 1012-13 (9th Cir. 2017); Fleet v. CBS, Inc., 50 Cal. App. 4th
    22    1919 (1996) (indicating claim is preempted if the subject of the claim “come[s]
    23    within the subject matter or scope of copyright protection”). Second, the claims,
    24    which are predicated on the conduct of a content provider, are barred by 47 U.S.C.
    25    § 230. See Evans v. Hewlett-Packard Co., No. C 13-02477 WHA, 2013 U.S. Dist.
    26    LEXIS 115856, at *9 (N.D. Cal. Aug. 15, 2013) (dismissing claim for
    27    misappropriation of likeness, under Section 230).
    28    ///
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     1            For the foregoing reasons, the Court GRANTS the ooShirts and Mr. Lei’
     2    Motion to Dismiss the Complaint, and hereby dismisses Mr. Dunham’s Complaint
     3    WITH PREJUDICE.
     4            IT IS SO ORDERED.`
     5    Date:
     6                                        ________________________________
                                              THE HONORABLE DOLLY M. GEE
     7                                              U.S. District Court Judge
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